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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW MEXICO


OUMAR HASSANE,

       Plaintiff,
vs.                                                 No. 1:12-CV-01070 KG/LFG

RALPH DORRANCE, RUSSELL VOSS,
and TWG TRANSPORTATION, INC.,

       Defendants.

                       ORDER OF DISMISSAL WITH PREJUDICE

       THIS MATTER having come before the Court on the Stipulated Motion to Dismiss

pursuant to FED. R. CIV. P. 41, and the Court being fully advised in the premises, finds good

cause therefore.

       It is, therefore, ORDERED, ADJUDGED, and DECREED that the above-captioned

cause of action is hereby dismissed with prejudice. Each party shall bear its own attorney’s fees

and costs.




                                                    UNITED STATES DISTRICT JUDGE
       Case 1:12-cv-01070-KG-LFG Document 33 Filed 11/14/13 Page 2 of 2




Submitted and Approved By:

WILL FERGUSON & ASSOCIATES

Approved via email on November 13, 2013

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